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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
JJD:JAM                                            610 Federal Plaza
F. #2017R01195                                     Central Islip, New York 11722



                                                   December 14, 2017

By ECF & Hand

The Honorable A. Kathleen Tomlinson
United States Magistrate Judge
Eastern District of New York
Central Islip, New York 11722


              Re:    United States v. Zoobia Shahnaz
                     Docket No. 17-CR-690 (SJ)

Dear Judge Tomlinson:

               The government respectfully submits this letter in anticipation of the above-
referenced defendant’s arraignment on the enclosed indictment (the “Indictment”). For the
reasons detailed below the government requests that a permanent order of detention be issued
pursuant to 18 U.S.C. § 3142(e).

                                     INTRODUCTION 1

              Yesterday evening, Federal Bureau of Investigation (“FBI”) agents and
members of the Joint Terrorism Task Force (“JTTF”) arrested the defendant, Zoobia
Shahnaz, pursuant to an arrest warrant, following the grand jury’s return of the Indictment.
The Indictment charges the defendant with one count of bank fraud, one count of money
laundering conspiracy, and three substantive money laundering counts, relating to a pattern
of conduct in or about and between March 2017 and August 2017.



       1
         This proffer of facts is not a complete statement of all facts and evidence of which
the government is aware or that it will seek to introduce at trial. Where the content of
statements, documents, or written communications are described herein, they are done so in
pertinent part and in sum and substance.
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               As detailed further below and as alleged in the Indictment, the defendant
engaged in a scheme to defraud several financial institutions, allowing her access to over
$85,000 in illicit proceeds. The defendant then wired these funds to various individuals and
front companies overseas. The investigation has revealed that the defendant stole and
laundered these funds abroad to support the Islamic State of Iraq and al-Sham (“ISIS”), a
designated foreign terrorist organization (“FTO”). 2 Indeed, on July 31, 2017, the defendant
herself planned to travel to Syria and join ISIS.

             For the reasons stated below, the defendant presents an irremediable flight risk
and an extreme danger to the community. Accordingly, she must be detained pending trial.

                                FACTUAL BACKGROUND

I.      The Defendant

               The defendant is a 27-year old citizen of the United States who was born in
Pakistan and currently resides on Long Island in Brentwood, New York. She has no known
criminal history. Up until approximately June 15, 2017, she worked as a lab technician at a
hospital in Manhattan and earned approximately $71,000 per year. In or about January 2016,
the defendant travelled to Jordan to volunteer with the Syrian American Medical Society.
For two weeks, she assisted in providing medical aid to Syrian refugees in Amman and in the
Zataari Refugee camp, where ISIS exercises significant influence.

II.     The Defendant Defrauded Numerous Financial Institutions and Laundered the Money
        Overseas

                In or about and between March 2017 and the date of her attempted travel to
Syria on July 31, 2017, the defendant engaged in a scheme defraud numerous financial
institutions, netting over $85,000 in illicit funds. She then made several wire transactions to
individuals and opaque entities in Pakistan, China and Turkey, which were designed to avoid
transaction reporting requirements and conceal the identity, source and destination of the
illicitly-obtained monies. These transactions were motivated to benefit ISIS, which the
defendant ultimately sought to join in Syria.
              A.      The Bank Fraud Scheme
              As charged in the Indictment, on or about and between March 12, 2017 and
March 28, 2017, the defendant applied for and fraudulently obtained approximately six credit
cards. Subsequently, in or about and between June 2017 and July 2017, she used these credit
cards – along with at least ten other credit cards in her name – to purchase approximately
$62,703.61 in Bitcoin and other cryptocurrencies from various internet exchanges. Bitcoin
and other cryptocurrencies are digital currencies in which encryption techniques are used to

        2
              To date, ISIS remains a designated FTO under Section 219 of the Immigration
and Nationality Act and as a Specially Designated Global Terrorist under section 1(b) of
Executive Order 13224. Abu Bakr al-Baghdadi is ISIS’s self-proclaimed caliph or leader.

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regulate the generation of units of currency and verify the transfer of funds.
Cryptocurrencies operate independently of formal banking structures and provide layers of
anonymity to their users. Persons engaged in illicit activity such as money laundering and
terrorist financing may use cryptocurrencies to avoid detection by law enforcement or
intelligence services. Most of these cryptocurrencies that the defendant purchased were then
converted to U.S. dollars and transferred into a checking account in the defendant’s name
(“Bank Account 1”).

              Additionally, on or about June 5, 2017, the defendant applied for and
fraudulently obtained a loan of approximately $22,500 from a bank in Manhattan. These
monies were also deposited into Bank Account 1 on June 8, 2017.
              B.      Laundering of the Illicit Proceeds Overseas
              As the defendant obtained stolen funds as a result of her bank fraud scheme,
she engaged in a pattern of financial transactions to move the money out of the U.S. and
benefit ISIS. These transactions were designed to disguise the nature of the funds, the
purpose of the transactions, and avoid currency transaction reporting requirements. 3
               For example, on or about May 23, 2017, the defendant sent two separate
payments of $4,000 and $3,000 to an individual in Pakistan (“John Doe #1”) from a Queens-
based money remittance service. That same day, the defendant remitted approximately
$10,025 from a checking account in her name (“Bank Account 2”) via wire transfer,
ostensibly to a medical supply company in the Zhejang Province of China.
              One week later, on or about May 30, 2017, the defendant withdrew
approximately $22,000 in cash in three separate transactions - $5,000, $8,000 and $9,000
withdrawals – from accounts in her name at three different banks, including Bank Account 1
and Bank Account 2. With that cash, she sent the following four wire payments later that
day from a Queens-based money remittance service:

                   • Two separate payments of $4,500 and $3,500 to an individual in
                     Karachi, Pakistan (John Doe #2)
                   • Two separate payments of $4,500 apiece to another individual in
                     Karachi, Pakistan (John Doe #3)

              The following day, on or about May 31, 2017, the defendant wired an
additional $20,025 to an account belonging to the aforementioned Chinese medical supply
company.

             Records from Bank Account 1 show that on or about July 21, 2017, the
defendant made a $100,025.00 remittance via wire transfer to an individual in Ankara,

       3
              Most notably, federal law requires financial institutions to report any deposit,
withdrawal, exchange of currency, or other payment or transfer of funds involving more than
$10,000.

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Turkey (John Doe #4). This transaction occurred days before the defendant’s attempted
travel to Syria and depleted almost all of the funds in Bank Account 1.
                To date, the defendant has not paid payments on the credit cards and loans
utilized in the scheme.
III.      The Defendant’s Fraud and Financial Crimes Were Designed to Support ISIS

               In committing the above-described crimes, the defendant sought to provide
support to ISIS. Specifically, the investigation has revealed that, during the time she was
committing bank fraud and moving money overseas, the defendant accessed ISIS
propaganda, violent jihad-related websites and message boards, and social media and
messaging pages of known ISIS recruiters, facilitators and financiers. Additionally, the
defendant conducted numerous internet searches for maps of and locations within ISIS-
controlled territory in Syria, and attempted to locate information that would facilitate her
entry into Syria.

               As early as August of 2015, defendant conducted extensive internet research
on making “hijrah” to Syria and joining the ISIS. Hijrah means “migration,” and refers to the
migration of the Prophet Mohammed and his followers from Mecca to Medina. The term is
used by ISIS to describe Muslims from around the world coming to Syria and joining the
Islamic State established by ISIS. 4 Example of the websites and social media pages the
defendant accessed include titles such as “Hijrah Checklist,” “Hijrah Tips and Reminders,”
“a message to the hesitant one from jihad hijrah,” and “what made you join [ISIS].”
             This activity increased during the period of the defendants bank fraud and
money laundering activity and immediately prior to her attempt to travel to Syria on July 31,
2017. Specifically, the defendant engaged in, inter alia, the following internet activity in or
about May 2017 through June 2017:

       • Google searches for and accessed pages of known ISIS recruiters, financiers, and
         fighters, including those who have urged lone-wolf attacks against American targets;
       • A Google search for “diwan and their functions isis”;
       • Videos of ISIS members from the United States and Europe urging Muslims to carry
         out attacks in Western countries;
       • Accessing ISIS-produced internet magazines, including an issue which featured
         various suggestions to ISIS sympathizers living in the West for hostage takings and
         attacks;
       • Travel-related Google searches, such as “flights to Istanbul,” “taking cash while
         travelling abroad,” “travel checks in Turkey,” “ATM machine withdrawal limit in

          4
               For example, in February 2015, ISIS published a fifty-page English-language
manual distributed online, entitled “Hijrah to the Islamic State, 2015,” which served as a
guide for prospective foreign fighters from Western countries who wanted to join the ranks
of ISIS in Syria.


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        Turkey,” “how much money can I send myself western union,” “hotels in Istanbul
        close to airport,” “how much overdraft can I get,” and “sanctions definition”;
      • Google search for “medical students ISIS” and accessed the “khilafamedics” Tumblr
        page;
      • Accessing maps of locations along the Turkey-Syria border and cities inside of ISIS-
        controlled territory; and
      • Articles about women joining and fighting for ISIS, including one entitled “Islamic
        State: Who are the Top Female Jihadis”.

             The defendant has also made statements to third parties that, in substance, it is
every Muslim’s duty to support the Islamic State under al-Baghdadi and travel to Syria.

IV.      After Effectuating Her Fraud and Money Laundering Schemes, the Defendant
         Attempted to Travel to Syria

                Unbeknownst to her family, the defendant obtained a Pakistani passport and
quit her job in June of 2017. On July 31, 2017, while her family believed she was heading to
work, the defendant actually went to John F. Kennedy international airport (“JFK”) to board
a flight to Islamabad, Pakistan. Her itinerary included a multi-day layover in Istanbul,
Turkey – a common point of entry for individuals travelling from Western countries to join
ISIS in Syria. The defendant’s return ticket had been booked for September 4, 2017 on a
Turkish Airlines flight from Istanbul to JFK. 5
                At JFK airport, the defendant agreed to speak with law enforcement agents
who intercepted her at the gate. The defendant stated, in sum and substance and in pertinent
part, that she had scheduled her trip the previous week and planned a six-day layover in
Istanbul in order to visit particular mosques and tourist sites. When asked where she planned
on staying in Istanbul, the defendant stated that she was unsure. She further stated that she
did not know anyone in Istanbul.
               During the interview, the defendant was asked about some of the
aforementioned overseas wire transactions. She provided false and conflicting explanations,
alternately claiming that the transfers were at the behest of an individual she had met on
social media, and later for a distant relative in Pakistan. She stated that she was unaware
what the money was for and refused to provide further details, saying that such information
was “confidential.” Additionally, the defendant admitted that she was carrying

         5
                In its various online guides for those who wish to make hijrah and join the
Islamic State via Turkey, ISIS recommends that individuals purchase round-trip itineraries,
as one-way tickets to Istanbul will be deemed suspicious by law enforcement. ISIS also
recommends that individuals pose as tourists and familiarize themselves with various tourist
attractions in Turkey in order to successfully deflect law enforcement questioning and
scrutiny. Notably, the defendant had previously conducted internet searches for “one-way
tickets to Istanbul.”


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approximately $9,500 in cash, which she did intentionally in order to avoid currency
reporting requirements.

               The defendant was also in possession of several electronic devices, and she
voluntarily provided written consent for law enforcement to search those items. Analysis of
those items show that the defendant took steps to delete stored communications and
information prior to her attempted travel on July 31, 2017. This is consistent with tradecraft
practiced by individuals seeking to travel to Syria and join ISIS

                                        ARGUMENT

I.      Legal Standard for Detention

               Under the Bail Reform Act, 18 U.S.C. § 3141 et seq., federal courts are
empowered to order a defendant’s detention pending trial upon a determination that the
defendant is either a danger to the community or a risk of flight. See 18 U.S.C. § 3142(e)
(“no condition or combination of conditions would reasonably assure the appearance of the
person as required and the safety of any other person and the community”). A finding of risk
of flight must be supported by a preponderance of the evidence. See United States v.
Jackson, 823 F.2d 4, 5 (2d Cir. 1987); United States v. Chimurenga, 760 F.2d 400, 405 (2d
Cir. 1985). Similarly, a defendant should be detained if the court finds that release on bail
would pose a danger, 18 U.S.C. § 3142(e), though detention based on dangerousness must
“be supported by clear and convincing evidence.” 18 U.S.C. § 3142(f).
              The Bail Reform Act lists four factors to be considered in the detention
analysis, whether for risk of flight or dangerousness: (1) the nature and circumstances of the
crimes charged; (2) the history and characteristics of the defendant; (3) the seriousness of the
danger posed by the defendant’s release; and (4) the evidence of the defendant’s guilt. See
18 U.S.C. § 3142(g).
              The rules governing admissibility of evidence at trial, however, do not apply in
a detention hearing. See 18 U.S.C. § 3142(f); Fed. R. Evid. 1101(d)(3). Accordingly, under
the Bail Reform Act, when detention is at issue, the government may proceed by proffer,
United States v. Ferranti, 66 F.3d 540, 541 (2d Cir. 1995); see also United States v.
LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000) (explaining that the government is entitled
to proceed by proffer in a detention hearing); United States v. Ferranti, 66 F.3d 540, 542 (2d
Cir. 1995) (same); United States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986) (same), and
so may the defendant, Martir, 782 F.2d at 1145.
II.     The Defendant Should Be Detained Pending Trial

               The nature and circumstances of the offense charged, the strength of the
evidence against the defendant, the history and characteristics of the defendant, and the
nature and seriousness of the threat presented by the defendant all support her detention as
both a danger to the community and a risk of flight.



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       A.      The Defendant Is a Danger to the Community

               It is self-evident that the defendant poses a danger to the community given that
her conduct demonstrates an allegiance to a terrorist organization. Indeed, the evidence
uncovered demonstrates that the defendant has embraced an extremely violent ideology that
advocates committing violent jihad in the United States and abroad. See United States v.
Farah, No. 15-MJ-312(2), 2015 WL 2353075, at *4 (D. Minn. May 15, 2015) (finding that a
defendant poses a risk of harm to the community where he is “charged with attempting to
join the most violent terrorist organization, ISIS”); United States v. Salkicevic, No. 15-CR-
0060, 2015 WL 525556, at *2 (N.D. Ill. Feb. 10, 2015) (finding that, where a defendant is
charged with conspiring to provide material support and resources to ISIS, the charged
offense “could scarcely be more serious”).

               By virtue of the charged conduct in the Indictment, the defendant has already
transferred over $100,000 to support a foreign terrorist organization that commits and
inspires violent atrocities, both in the U.S. and around the world. The defendant’s effort to
travel to Syria shows that the defendant poses a pervasive risk of harm to civilians, both in
the United States and abroad. See Salkicevic, 2015 WL 525556, at *2 (consideration of
safety of the community “can, of course, include foreign communities”); see also Farah,
2015 WL 2353075, at *4 (finding dangerousness because there would be harm to the wider
community of civilians in the Middle East if the defendant were successful). Certainly, if the
defendant were to follow ISIS’s directive of committing attacks in the United States –
including the those delineated in the aforementioned webpages that the defendant accessed –
the risk of harm would be even more acute.

               Taken together, this evidence overwhelmingly supports a finding that the
defendant is a danger to the community.

       B.      The Defendant Presents an Extreme Flight Risk
               In addition to the above, the defendant also constitutes a flight risk due to the
seriousness of the offenses, the strength of the evidence, and the severity of the penalties that
she faces. Her contacts abroad, facility in complex and deceptive transnational money
movements, and her affiliation with a foreign terrorist organization only exacerbate these
risks.

                First, the nature and circumstances of the offenses charged weigh heavily in
favor of detention. The seriousness of the offenses speaks for itself, and given the effort
required to commit such a complex and deceptive fraud, it would be logical to infer and
conclude that the defendant would go to equal, if not greater, lengths to avoid going to
federal prison. Thus, considering the duration and complexity of her criminal conduct, and
the fact that the charges include multiple crimes of false statements and deceit, the defendant
cannot be trusted to return to court. See United States v. Saani, 557 F. Supp. 2d 97, 98-99
(D.D.C. 2008) (tax-perjury defendant’s “alleged purposeful and illegal concealment
of…access” to funds in foreign bank accounts was “directly relevant to [his] flight


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risk”); United States v. Anderson, 384 F. Supp. 2d 32, 39 (D.D.C. 2005) (defendant’s
“historical unwillingness to be forthright in his dealings with government officials” relevant
to flight risk).

               Second, the weight of the evidence against the defendant is considerable. The
voluminous bank and internet records described above comprise just some of the evidence
against the defendant. Where, as here, the evidence of guilt is strong, it provides “a
considerable additional incentive to flee.” United States v. Millan, 4 F.3d 1038, 1046 (2nd
Cir. 1993); see also United States v. Palmer-Contreras, 835 F.2d 15, 18 (1st Cir. 1987) (per
curiam) (where “the evidence against defendants is strong, the incentive for relocation is
increased”). Similarly, the possibility of a severe sentence is an important factor in assessing
a defendant’s incentive to flee. See United States v. Jackson, 823 F.2d 4, 7 (2d Cir. 1987);
Martir, 782 F.2d at 1147 (defendants charged with serious offenses whose maximum
combined terms created potent incentives to flee); United States v. Cisneros, 328 F.3d 610,
618 (10th Cir. 2003) (defendant was a flight risk because her knowledge of the seriousness of
the charges against her gave her a strong incentive to abscond); United States v. Townsend,
897 F.2d 989, 995 (9th Cir. 1990) (“Facing the much graver penalties possible under the
present indictment, the defendants have an even greater incentive to consider flight,”);
United States v. Dodge, 846 F. Supp. 181, 184-85 (D. Conn. 1994) (possibility of a Asevere
sentence@ heightens the risk of flight).

                Third, the defendant has foreign ties that would facilitate her flight. She has
familial ties in Pakistan, and the very nature of her offense conduct demonstrates that she is
connected with individuals that can assist her travel beyond the reach of the Court’s
jurisdiction. The defendant’s July 31, 2017 attempted travel to Syria, notwithstanding her
U.S. citizenship and the presence of immediate family in New York, demonstrates that her
ties to the community do not mitigate her flight risk. See Farah, 2015 WL 2353075, at *4
(finding that a defendant poses a risk of flight where part of the offense conduct involves
attempting to travel overseas to join a terrorist organization); Mercedes, 254 F.3d at 437
(finding that U.S. citizenship and offer by immediate family members to serve as suretors did
not overcome presumption of flight risk where defendant’s past conduct evidenced flight
risk). Equally, the fact that her live-in family members had no knowledge that she quit her
job, obtained a foreign passport, and planned to travel shows that they do not exercise moral
suasion over her or her actions.

             Finally, given the defendant’s conduct and contacts, it is likely that she has
access to heretofore unidentified assets that she could readily access to finance her flight.
Courts have repeatedly held that a defendant’s ability to conduct complex financial
transactions, and the access to funds that this ability entails, increases the risk of flight.
The decisions in Anderson and Saani, cited above, are instructive. In Anderson, the court
explained that the defendant’s offenses “demonstrate substantial familiarity with the
commercial and financial laws of other countries, sophistication in arranging international
financial transactions and in moving money across borders, and a facility for concealing the
existence and location of significant quantities of money and other assets,” which “clearly
suggests that [the defendant] is a flight risk.” 384 F. Supp. 2d 32, 39. Likewise, in Saani, the

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defendant was a dual citizen of the United States and Ghana charged with failing to report on
his tax return his interest in foreign accounts. 557 F. Supp. 2d at 98. The court explained
that, while Saani’s offense was neither violent nor a drug crime, “it is a crime of
deception with direct relevance to [his] ability to support himself overseas.” Id. That ability
helped persuade the court that Saani was a serious flight risk and that pre-trial detention was
warranted. Id at 99-100.

                 Of course, the facts and circumstances surrounding the instant case make the
risk of flight even more severe. It is clear from the defendant’s conduct that she never
planned to return to the U.S. – she quit her job, deliberately incurred debts that she never
intended to repay, and sought to reside in Syria. Given that law enforcement disrupted these
plans, it is likely that the defendant is even more prone to impulsive and violent criminal
behavior, including fleeing the country. See United States v. Kandasamy, No. 06-CR-616,
2008 WL 2660610, at *4 (E.D.N.Y. July 3, 2008) (Dearie, J.) (18 U.S.C. § 2339B case)
(finding that the defendant posed a risk of flight despite U.S. citizenship and living with
family because possibility of significant prison term, weight of the evidence, and affiliation
with foreign terrorist organization).

                                         CONCLUSION

                 For the reasons set forth above, the defendant should be held without bail
pending trial.


                                                     Respectfully submitted,


                                                     BRIDGET M. ROHDE
                                                     Acting United States Attorney

                                              By:      /s/
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                                                     Assistant U.S. Attorney
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